Case 16-39654    Doc 309      Filed 06/15/18 Entered 06/15/18 02:25:56            Desc Main
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 1                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
 2                                  EASTERN DIVISION
 3
 4   IN RE ARGON CREDIT, LLC                             )
               Debtor.                                   )      Chapter 7
 5                                                       )      NO: 2016-39654
                                                         )      Hon. Deborah L. Thorne
 6                                                       )      Hearing Date: May 10, 2018
 7                                                       )      Hearing Time: 10:00 a.m.

 8        CONSUMERS’ RESPONSE TO SUPPLEMENTAL INFORMATION
        PROVIDED BY FUND RECOVERY SERVICES (DOC. 307) REGARDING
 9        CONSUMERS’ MOTION FOR RELIEF FROM AUTOMATIC STAY
10   TO:   SEE ATTACHED SERVICE LIST
11
           Lindsay Fore, Kim L. King, Theresa Madrigal, Yolanda J. McKinney, Karensa
12
     Hutchens, Patti M Couture, Rosemary Gonzalez-Lopez, Steven Prescott, Karen Vinson,
13
     Dean Sipe, Stephen Craig Brown, Dennis B. Estrada-Jimenez, Samantha Rae Wilder,
14
15   Tiffany N Comfort, John K. Brigoli, Dennis C. Cantrell, Mathew V. Muniz, Joseph N.

16   Roberson, Donald Dotson, Felicia M. Spiller, Delilah Jasso Rodriguez, John Fountaine,
17   Sonja Hallmon and Eric Shorter [hereinafter Consumers] respectfully submit this
18
     response to supplemental information provided by Fund Recovery Services (Doc. 307)
19
     regarding Consumers’ Motion for Relief from Automatic Stay.
20
     DATED: June 14, 2018
21
22                                Respectfully submitted,

23
24
25
                                  By
26
                                          Jeffrey Wilens, Esq., Pro Hac Vice
27                                        Lakeshore Law Center
                                          18340 Yorba Linda Blvd., Suite 107-610
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      CONSUMERS’ Reply to Fund Recovery Services’ Opposition to Motion for Relief from Automatic Stay
                                        Case No. 2016-39654
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 1                                        Yorba Linda, CA 92886
                                          714-854-7205
 2                                        714-854-7206 (fax)
                                          JEFF@LAKESHORELAW.ORG
 3
 4                                        Derek V. Lofland LLC, Esq. (#6280490)
                                          The Law Office of Derek V. Lofland LLC
 5                                        2038 & 1/2 N. Spaulding Ave, Unit 2
                                          Chicago, IL 60647
 6                                        (312) 545-5033
 7                                        derekloflandesq@gmail.com

 8                                 CERTIFICATE OF SERVICE

 9         I certify that I am a citizen of the United States and a resident of Orange County,
10   State of California. I am over the age of 18 years and am not a party to this Action. My
11
     business address is 18340 Yorba Linda Blvd., Suite 107-610, Yorba Linda, CA 92886.
12
           On June 14, 2018, I caused to be served a true copy of the above notice and
13
     attached pleadings upon the Service List through the Court’s ECF System, or by placing
14
15   a true copy thereof enclosed in a sealed envelope with postage thereon fully prepaid

16   through United States Postal Service at Yorba Linda, California, addressed as set forth
17   below this declaration.
18
           I declare under penalty of perjury and under the laws of the State of California,
19
     that the foregoing is true and correct. Executed this 14th day of June 2018 at Yorba
20
     Linda, California.
21
22
23
24
25                                                      Jeffrey Wilens
     Peter J. Roberts                                Eugene Crane (Atty. No. 0537039)
26
     Shaw Fishman Glantz & Towbin LLC                Jeffrey C. Dan (Atty. No. 06242750)
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                                                    2
      CONSUMERS’ Reply to Fund Recovery Services’ Opposition to Motion for Relief from Automatic Stay
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 1                        IN THE UNITED STATES BANKRUPTCY COURT
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                                     EASTERN DIVISION
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     IN RE ARGON CREDIT, LLC                             )
 5             Debtor.                                   )      Chapter 7
                                                         )      NO: 2016-39654
 6                                                       )      Hon. Deborah L. Thorne
                                                         )      Hearing Date: Under Submission
 7                                                       )      Hearing Time: 10:00 a.m.
 8
          CONSUMERS’ RESPONSE TO SUPPLEMENTAL INFORMATION
 9      PROVIDED BY FUND RECOVERY SERVICES (DOC. 307) REGARDING
          CONSUMERS’ MOTION FOR RELIEF FROM AUTOMATIC STAY
10
               Pursuant to Court order, Fund Recovery Services (FRS) filed a document (Doc.
11
12   307) containing information pertaining to the status of the collections from consumers

13   who paid back loans from Argon Credit between January 2017 and April 2018.

14             FRS’ CEO submitted a declaration stating that FRS has collected approximately
15
     $5.9 million between those dates and is trying to collect some $19.9 million that is still
16
     owed according to its records. Although that declaration does not break down the
17
     figures California borrowers, in an earlier filing FRS stated that California borrowers
18
19   represented about 44% of Argon’s loan portfolio. (Doc. 297, p. 4.) In other words, FRS

20   could be facing claims for almost $2.6 million in restitution and $8.7 million in debt

21   forgiveness if every California borrower were able to assert a claim, most likely in a class
22   action.
23
               By contrast, Consumers have sought leave to bring approximately 25 arbitration
24
     claims. Although FRS did not present the Court specifics on the value of those claims,
25
     they have been estimated to be about $100,000. (Doc. 298, p. 6.) Even if one doubled
26
27   that amount, to reflect debt forgiveness, it is still a lot less than $10 million.

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 1          If the Court’s purpose for requesting this supplemental information was to
 2   determine what percentage of the total loan portfolio is represented by the loans
 3
     pertaining to the Consumers seeking to arbitrate their claims now, the answer is an
 4
     extremely tiny percentage—around one percent. The Estate would be better protected
 5
     and better off if these arbitrations are permitted to go forward. While it should be
 6
 7   expected that some additional individuals may bring similar arbitration claims in

 8   coming months, that is still vastly preferable to facing a class action. Indeed, that is the

 9   typical purpose of an arbitration provision—to block class actions. If the arbitration
10   agreements are no longer enforceable in light of the bankruptcy filing, the Consumers
11
     will proceed with an adversary class action, which cannot possibly be a preferred
12
     approach for the Estate.
13
     DATED: June 14, 2018
14
15                                Respectfully submitted,

16
17
18
                                  By
19
                                          Jeffrey Wilens, Esq., Pro Hac Vice
20                                        Lakeshore Law Center
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